Case 4:18-cV-02128-I\/|WB Document 1 Filed 11/05/18 Page 1 of 5

UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LESLIE CONKLIN, )
) CIVIL ACTION
Plaintiff, )
) N0.
vs. )
)
HAWBAKER ENGINEERING, LLC, and ) JURY TRIAL DEMANDED
GLENN O. HAWBAKER, INC., )
)
Defendants
CIVIL COMPLAINT

Leslie Conl<lin, by undersigned counsel, files this Civil Complaint and in support alleges
the following:
I. Jurisdiction

l. The jurisdiction of this court is invoked pursuant to the Americans With
Disabilities Act of l990 (ADA) and the Americans With Disabilities Amendment Act of 2008
(ADAAA), 42 U.S.C. §§ lZlOl, et. seq.

2. Plaintiff has exhausted federal administrative remedies Plaintiff filed her charge
With the Equal Employment Opportunity Commission (EEOC), on or about August 20, 2018,
and it Was dual filed With the Pennsylvania Human Relations Commission (“PHRC”). On

October 15, 2018, the EEOC issued a Right-to-Sue letter This suit is timely tiled.

Case 4:18-cV-02128-I\/|WB Document 1 Filed 11/05/18 Page 2 of 5

Il. m

3. Pursuant to 28 U.S.C. §139l(b)(1) and (b)(2), venue is properly laid in this
district because Defendant regularly conducts business in this district, and because a substantial
part of the acts and/or omissions giving rise to the claims set forth herein occurred in this judicial
district. Plaintiff is Working for Defendant in Centre County, Which is Within the Middle District
of Pennsylvania, at the time of the illegal actions of the Defendants set forth herein
III. The Parties

4. The plaintiff, Leslie Conklin, is a female individual Who resides at 239 GeMar
Avenue, Pleasant Gap, PA, 16823. At all times relevant, she Was, and is, an employee of
Defendants, Within the meaning of the ADA and ADAAA.

5. Defendant Hawbaker Engineering, LLC (“HE”) is a limited liability company
With an office and place of business located at 1952 Waddle Road, Suite 201, State College,
Pennsylvania, 16803. HE is a Wholly owned subsidiary of Glenn O. Hawbaker, Inc. HE is an
“employer” Within the meaning of the ADA, and ADAAA.

6. Defendant Glenn O. Havvbaker, Inc., (“GOH”) is a corporation With an office and
place of business located at 1952 Waddle Road, Suite 203, State College, Pennsylvania, 16803.
GOH is an “employer” Within the meaning of the ADA, and ADAAA.
IH. F actual Background

7. Leslie Conklin has been suffering from significant jaW, head and neck pain
related to temporomandibular joint disorder (TMJ). This disorder substantially interferes With
and limits Ms. Conklin’s maj or life activities, including but not limited to, eating, sleeping, oral

care, speaking and concentrating

Case 4:18-cV-02128-I\/|WB Document 1 Filed 11/O5/18 Page 3 of 5

8. Nonetheless, Ms. Conklin can perform the essential functions of her job(s) with or
without a reasonable accommodation

9. Ms. Conklin is a qualified individual with a disability under the ADA and
ADAAA.

10. Ms. Conklin is an employee of HE and GOH. HE has required Ms. Conklin to
not only work for HE as HE’s only administrative assistant, but also for its parent company,
GOH, located in the same office building Plaintiff is a leased/contracted employee of GOH.
The two companies share the same Human Resources Department and the same employment
policies, practices and procedures Ms. Conklin has been informed that in addition to all of her
job duties at HE, which she has performed for nearly 8 years, she must also work for GOH,
performing whatever work assignments GOH demands. The additional work assignments
demanded by HE and GGH have caused significant stress, pain, discomfort, anxiety, mental
anguish and emotional distress to l\/ls. Conklin due to exacerbation of her TMJ. Ms. Conklin has
Submitted documentation of her disability to Defendants.

ll. l\/ls. Conklin informally requested a reasonable accommodation in April of 201 8.
She formally requested a reasonable accommodation on June 15, 2018. Ms. Conklin asked that
she be allowed to continue to perform her job duties at HE, without the required additional work
assignments of GOH, for a period of time. ln other words, Plaintiff requested the equivalent of
job restructuring and/or a temporary leave of absence from her work for GOH for a reasonable
period of time to alleviate her pain, stress and anxiety caused by the exacerbation of her TMJ.

12. Neither HE, nor GOH, have suggested, offered, or provided any reasonable
accommodation to Ms. Conklin; in fact, Defendants have refused to make or offer any

accommodation to Plaintiff.

Case 4:18-cV-02128-I\/|WB Document 1 Filed 11/O5/18 Page 4 of 5

13. As a result of Defendants’ refusal to comply with the ADA, ADAAA and their
own company policies and procedures, Ms. Conklin has suffered, and continues to suffer
significant pain, discomfort, stress mental anguish and emotional distress

14. Defendant has a history and reputation of discriminating and retaliating against
employees who report disabilities For example, in 2010, Defendant was sued by the EEOC for
disability discrimination and settled with the EEOC, paying $200,000 for its discrimination and
agreeing to a consent decree promising not to engage in illegal discrimination in the future. ln
December of 2017, a jury in Centre County found Glenn O. Hawbaker, Inc. wrongfully
discharged an employee for exercising her rights under the Workers’ Compensation Act and
invaded her privacy for contacting her doctor without authorization in order to manipulate her
doctor’s care and treatment in furtherance of its plan to wrongfully discharge the employee The
jury found Glenn O. Hawbaker, Inc.’s actions were outrageous and awarded $260,059.68 in

compensatory damages and 332 Million in punitive damages

COUNT I . THE AMERICANS WITH DISABILITIES ACT

Discrimination/Failure to Accommodate

15. Plaintiff incorporates by reference the allegations in the preceding paragraphs as
if fully stated herein.
16. At all times material hereto, Plaintiff is, and was a qualified individual with a

“disability” within the meaning of the ADA, as amended by the ADAAA, as defined at 42
U.S.C. §12102(2), 29 C.F.R. §1630.2(g), in that she has a physical or mental impairment that
limits one or more of her maj or life activities, and she was capable of performing the essential

functions of her job with a reasonable accommodation

Case 4:18-cV-02128-I\/|WB Document 1 Filed 11/O5/18 Page 5 of 5

17. Plaintiff advised Defendants of her need for a reasonable accommodation

18. Defendants have failed to engage in any meaningful, good-faith interactive
process with Plaintiff and have failed to suggest, offer, or provide any reasonable
accommodation

19. Plaintiff has endured physical pain, mental anguish and inconvenience as a result
of Defendants’ conduct and has been to unable enjoy equal benefits and privileges of
employment similar to employees without disabilities

20. Defendants’ failure to provide any reasonable accommodation was intentional,
malicious and recklessly indifferent to Plaintiff’s legal rights

WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and
punitive damages, plus costs of this action, injunctive relief in the form of a court order requiring
a reasonable accommodation, attorneys’ fees, and such other relief as the Court may deem just

and proper under the circumstances

JURY TRIAL DEMANDED
Respectfully submitted

By/s/ Thomas B. Anderson, Esquire
Thomas B. Anderson, Esquire
Pa. I.D. No. 79990

THOMS()N, RHODES & COWIE, P.C.
Firm #720

Two Chatham Center, 10th Floor
Pittsburgh, PA 15219-3499

(412) 316~8684

tba trc-law.com

Counsel for the Plaintiff
Dated: November 5, 2018

